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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 _________________________________________________

 JOSEPH SAFDIEH,

                       Plaintiff,                                 NOTICE OF REMOVAL

               v.                                                 Case No.

 CITIBANK, N.A. and HSBC BANK USA, N.A.

                   Defendants.
 _________________________________________________


To:    THE CLERK OF THE COURT FOR THE UNITED STATES DISTRICT
       COURT FOR THE EASTERN DISTRICT OF NEW YORK


              Pursuant to 28 U.S.C. §§ 1441(c) and 1446, Defendant HSBC Bank USA,

N.A. (“HSBC Bank”), by its attorneys, Phillips Lytle LLP, files the following Notice of

Removal of the above-captioned case from the Supreme Court of the State of New York for

the County of Kings (also referred to as “State Court”) to the United States District Court

for the Eastern District of New York.

              This is a civil action over which this Court has original subject matter

jurisdiction under 28 U.S.C. § 1332(a), in that the amount in controversy exceeds

$75,000.00, exclusive of interest and costs, and the action is between citizens of different

states. In support thereof, HSBC Bank states:

              1.      HSBC Bank is a defendant in a civil action captioned Joseph Safdieh v.

Citibank, N.A. and HSBC Bank USA, N.A., Index No. 511121/2020, filed June 28, 2020 in the

Supreme Court of the State of New York for the County of Kings, in which the action is

pending.
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              2.      In accordance with 28 U.S.C. § 1446(a), copies of all the documents

filed in this action in State Court are attached as Exhibit A.

                         I. NOTICE OF REMOVAL IS TIMELY

              3.      Plaintiff initiated the instant civil action against HSBC Bank by filing a

summons and verified complaint (“Complaint”) in State Court on or about June 28, 2020.

              4.      Undersigned counsel for HSBC Bank accepted service for HSBC Bank

on or about July 2, 2020.

              5.      This Notice of Removal is being filed within one year of the

commencement of this action and within 30 days of service of the initial pleading setting

forth the alleged claims for relief against HSBC Bank upon which this action is based, and is

therefore timely under 28 U.S.C. § 1446(b).

                        II. DIVERSITY JURISDICTION EXISTS

              6.      This Court has original jurisdiction of this action pursuant to

28 U.S.C. § 1332(a), in that there is complete diversity of citizenship among the parties and

the amount in controversy exceeds $75,000.00, exclusive of interest and costs.

A.     Diversity of Citizenship Requirement Is Satisfied

              7.      Plaintiff is an individual residing in the State of New York, Kings

County. (See Ex. A, Summons.) Therefore, Plaintiff is a citizen of New York for purposes

of this Notice of Removal.

              8.      HSBC Bank is a national banking association with its main office in

Tysons, Virginia. See Office of the Comptroller of the Currency, List of National Banks




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Active as of 5/31/2020.1 Therefore, HSBC Bank is a citizen of Virginia for purposes of this

Notice of Removal. See OneWest Bank, N.A. v. Melina, 827 F.3d 214, 218 (2d Cir. 2016)

(“The Supreme Court has held unequivocally that a national bank is ‘located,’ for diversity

jurisdiction purposes, in the state designated in its articles of association as the locus of its

main office . . . .”) (citing Wachovia Bank v. Schmidt, 546 U.S. 303, 307 (2006)).

                 9.      Citibank, N.A. (“Citibank”) is a national banking association with its

main office in Sioux Falls, South Dakota. See Office of the Comptroller of the Currency,

List of National Banks Active as of 5/31/2020.2 Therefore, Citibank is a citizen of South

Dakota for purposes of this Notice of Removal. See OneWest Bank, N.A., 827 F.3d at 218.

                 10.     Under this analysis, Plaintiff and Defendants are citizens of different

states for purposes of 28 U.S.C. §§ 1332 and 1441, and complete diversity exists.

                 11.     Finally, removal of this case on the basis of diversity of citizenship is

not precluded by the provisions of 28 U.S.C. § 1441(b) because HSBC Bank and Citibank

are not citizens of the State of New York, the state in which this action was brought.

B.      The Amount in Controversy Requirement is Satisfied

                 12.     More than $75,000.00, exclusive of interest and costs, is in controversy

in this action. Specifically, Plaintiff seeks damages in the amount of $575,465.71, in

addition to attorneys’ fees, expenses, interest and costs. (See Ex. A, Complaint.)




1
 Available at https://www.occ.treas.gov/topics/charters-and-licensing/financial-institution-lists/national-by-
name.pdf.
2
 Available at https://www.occ.treas.gov/topics/charters-and-licensing/financial-institution-lists/national-by-
name.pdf.



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                     III. REMOVAL TO THIS DISTRICT IS PROPER

               13.    Because the Complaint was filed in State Court in Kings County, New

York, which is situated within the Eastern District of New York, removal to this Court is

proper under 28 U.S.C. § 1446(a).

               14.    Written notice of this filing will be served on Plaintiff’s counsel by mail

pursuant to 28 U.S.C. § 1446(d).

               15.    A Notice of Filing of this Notice of Removal will be filed with the

clerk of the court for the State Court pursuant to 28 U.S.C. § 1446(d).

                                       IV. CONSENT

               16.    Counsel for Citibank (Bruce Goodman, Esq. of Zeicher, Ellman &

Krause, LLP) has confirmed that Citibank consents to this removal, and will be filing a

separate consent to removal.

               WHEREFORE, HSBC Bank removes this case from the Supreme Court of

the State of New York for the County of Kings to the United States District Court for the

Eastern District of New York.


 Dated: New York, New York                        PHILLIPS LYTLE LLP
        July 9, 2020

                                                  By: /s/ Preston L. Zarlock
                                                         Preston L. Zarlock
                                                  Attorneys for Defendant
                                                  HSBC Bank USA, N.A.
                                                  340 Madison Avenue, 17th Floor
                                                  New York, New York 10173
                                                  Telephone No. (212) 759-4888
                                                  pzarlock@phillipslytle.com


Doc #8531074




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                          EXHIBIT A
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         SUPREME COURT OF THE STATE OF NEW YORK                               Index No.        /2020
         COUNTY OF KINGS
                                              X                               SUMMONS
         JOSEPH SAFDIEH,
                                                                              Plaintiff designates
                                        Plaintiff,                            Kings County as place
                                                                              for trial.
                         -against-
                                                                              Basis of Venue:
          CITIBANK, N.A., and HSBC BANK USA, N.A.,                            County in which Plaintiff
                                                                              resides
                                        Defendants.
                                                                  X
          TO THE ABOVE-NAMED DEFENDANT(S);

                 You are hereby summoned to answer the Verified Complaint in this action and to serve a

          copy of your answer, or, if the Complaint is not served with this summons, to serve a notice of

          appearance on the Plaintiffs attorney within twenty days after the service of this summons,

          exclusive of the day of service (or within 30 days after the service is complete if this summons is

          not personally delivered to you within the State of New York). In case of your failure to appear

          or answer, judgment will be taken against you by default for the relief demanded in the

          complaint.

          Dated: Brooklyn, New York
                 June 23, 2020                  Yours, etc.,

                                                /s/ Samuel Katz
                                                LAW OFFICE OF SAMUEL KATZ, PLLC
                                                Samuel Katz, Esq.
                                                4533 16'1' Avenue
                                                Brooklyn, NY 11204
                                                Tel. (347) 396-3488
                                                Fax (347) 396-9622
                                                sk(a/samkatzlaw.com

                                                Attorneys for Plaintiff




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          Defendants' Addresses:
          CITIBANK, N.A.
          399 Park Avenue
          New York, New York 10022

          HSBC BANK USA, N.A.
          452 5th Avenue
          New York, NY 10018




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          SUPREME COURT OF THE STATE OF NEW YORK                             Index No.      /2020
          COUNTY OF KINGS
                                               X                             VERIFIED COMPLAINT
          JOSEPH SAFDIEH,

                                       Plaintiff,

                        -against-

          CITIBANK, N.A., and HSBC BANK USA, N.A.,

                                       Defendants.


                 Plaintiff, JOSEPH SAFDIEH, by and through his attorney, LAW OFFICE OF SAMUEL

          KATZ, PLLC, as and for his Verified Complaint against the Defendants CITIBANK, N.A. and

          HSBC BANK USA, N.A., alleges and states upon information and belief as follows:


                                                     PARTIES


                 1.     At all times relevant herein Plaintiff, JOSEPH SAFDIEH, was and is a natural

          person residing in the State of New York, County of Kings.

                 2.     At all times relevant herein, Defendant CITIBANK, N.A., was and is a national

          banking association authorized to do business in New York with a principal place of business

          located at 399 Park Avenue New York, NY 10022.

                 3.     At all times relevant herein, Defendant HSBC BANK USA, N.A., was and is a

          national banking association authorized to do business in New York with a principal place of

          business located at 452 5th Avenue New York, NY 10018.



                                         JURISDICTION AND VENUE

                 4.     Jurisdiction is claimed under CPLR §301 and 302(a).

                 5.     Venue is claimed under CPLR §503(a) as the Plaintiff resides in Kings County.




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                              FACTS COMMON TO ALL CAUSES OF ACTION

                  6.     At all times relevant to the allegations set forth herein, Plaintiff maintained a

          checking account with Citibank, N.A. ("Citibank") ending in 0888.

                  7.     On or about April 15, 2019, Plaintiff received a check in the sum of $233,773.52

          from AIG Property Casualty Company made payable to Plaintiff and HSBC Bank, ISAOA

          ATIMA ("HSBC").

                  8.     On or about April 19, 2019, Plaintiff endorsed the check and deposited it into his

          Citibank account ending in 0888.

                  9.     Although the check was endorsed only by Plaintiff and not by HSBC, Citibank

          accepted the check for deposit and credited Plaintiffs account for the amount of the check.

                  10.    Thereafter, more than eight (8) months later, on January 28, 2020, Citibank

          unilaterally closed the Plaintiff's account ending on 0888 and issued a cashier's check, number

          991368777, to PlaintiffJoseph Safdieh in the sum of $107,918.67 (hereinafter, the "funds")

          representing all of the remaining funds in the account.

                  11.    Plaintiff went to deposit the cashier's check into an account he maintained at TD

          Bank.

                  12.    Upon presentment of the Citibank cashier's check for deposit, the TD Bank

          manager contacted Citibank in the presence of Plaintiff to verify the check and funds availability.

                  13.    Citibank verified the check and funds availability by speaking to the TD Bank

          manager.

                  14.    Upon confirmation by Citibank, TD Bank then accepted the check and deposited

          the check into Plaintiffs TD bank account.

                  15.    However, subsequently, Citibank unilaterally stopped the cashier's check and




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          Plaintiff's TD bank account was not credited for the funds.

                 16.     Citibank's stopping of the cashier's check resulted in TD Bank closing Plaintiffs

          account at TD Bank and caused Plaintiff great embarrassment.

                 17.     Upon stopping the cashier's check, Citibank also did not credit Plaintiff's

          account for the sum of the stopped check.

                 18.     Instead, on January 31, 2020, without any notice to Plaintiff, Citibank issued a

          check in the sum of $233,773.52 made payable to HSBC only.

                 19.     The $233,773.52 was apparently comprised of the $107,918.67 funds of the

          stopped cashier's check, plus an additional $125,854.85.

                 20.     In a subsequent email to Plaintiff, Citibank claimed that it issued the check to

          HSBC because HSBC had a Uniform Commercial Code ("UCC") warranty claim against

          Citibank for converting the initial AIG check and crediting Plaintiffs Citibanlc account for the

          amount of the check without HSBC's endorsement.

                 21.     However, Citibank failed to explain why it issued the January 31, 2020 check to

          HSBC only, and not to HSBC and Plaintiff jointly as co-payees, just as the original AIG check

          was issued.

                 22.     Since the funds of the January 31, 2020 Check to HSBC was comprised of funds

          that were initially issued by AIG to both HSBC and Plaintiff as co-payees, Citibank was required

          to make the check payable to both HSBC and Plaintiff.

                 23.     By failing to add Plaintiff as a co-payee on the January 31,2020 check to HSBC,

          Citibank, violated several statutory laws and the common law.

                  AS AND FOR THE FIRST CAUSE OF ACTION AGAINST DEFENDANT
                         CITIBANK, N.A. FOR COMMON LAW CONVERSION




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                  24.     Plaintiff repeats and realleges each and every allegation made above, as if set

          forth at length herein.

                  25.     Citibank converted the funds belonging to Plaintiff.

                  26.     As stated, Citibank issued a cashier's check, number 991368777, to Plaintiff

          Joseph Safdieh in the sum of $107,918.67 representing all of the available funds in Plaintiffs

          account.

                  27.     Citibank thereafter verified the cashier's check and the funds availability by

          speaking to a TD Bank manager to whom the cashier's check was presented for deposit.

                  28.     By Citibank's subsequent stopping of the cashier's check and Citibank's failure to

          credit Plaintiffs account for the amount of the funds, Citibank intentionally and without

          authority converted the funds belonging to and owned by Plaintiff and interfered with Plaintiffs

          right of possession and ownership in said funds.

                  29.      Citibank exercised dominion and control over the Plaintiffs funds in derogation

          of Plaintiffs ownership rights of the funds without any legal basis or justification.

                  30.     Citibank's conversion of Plaintiffs funds caused Plaintiff to suffer compensatory

          damages in the sum of $107,918.67 plus interest.

                  31.     Citibank's conversion of Plaintiffs funds caused Plaintiff to lose business

          opportunities and as such Plaintiff suffered additional economic losses in a sum to be determined

          at a trial of this action but at all times within the jurisdictional limits of this court.

                AS AND FOR THE SECOND CAUSE OF ACTION AGAINST DEFENDANT
                CITIBANK, N.A. FOR VIOLATIONS OF UCC U-409, UCC 0-411 and 0-412


                  32.     Plaintiff repeats and realleges each and every allegation made above, as if set

          forth at length herein.




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                 33.     Citibank's issuance of the cashier's check, number 991368777, to PlaintiffJoseph

          Safdieh in the sum of $107,918.67 constitutes an accepted draft pursuant to Uniform

          Commercial Code §3-409, and Citibank became liable for its payment.

                 34.     Citibank's issuance of the cashier's check, number 991368777, to PlaintiffJoseph

          Safdieh in the sum of $107,918.67 created a legal obligation pursuant to Uniform Commercial

          Code §3-411 requiring Citibank, as the obligated bank, to pay the cashier's check.

                 35.      By wrongfully stopping the cashier's check without any legal justification,

          Citibank breached its obligations pursuant to Uniform Commercial Code §§3-409, 3-411 and 3-

          412.

                 36.      Pursuant to Uniform Commercial Code §3-411(b), Citibank is liable to the

          Plaintiff herein for compensation for expenses (including attorney's fees) and loss of interest

          resulting from the wrongful nonpayment of the cashier's check and may recover consequential

          damages.

                 37.      Accordingly, Citibank is liable to Plaintiff for attorney's fees and costs he

          incurred in connection with commencing and prosecution this action through final judgment and

          for loss of interest in such sums as shall be determined by this court at a trial of this action and at

          all times within the jurisdictional limits of this court.

                  AS AND FOR THE THIRD CAUSE OF ACTION AGAINST DEFENDANT
                               CITIBANK, N.A. FOR NEGLIGENCE


                  38.     Plaintiff repeats and realleges each and every allegation made above, as if set

          forth at length herein.

                  39.     Citibank owed Plaintiff a duty of care with respect to the monies belonging to

          Plaintiff and maintained in Plaintiff's Citibank account.




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                 40.     As part of that duty of care, Citibank had a duty to ensure that the funds belonging

          to Plaintiff and maintained in Plaintiff's account are negotiated and converted only to those

          payees who possess a legal ownership interest in said funds.

                 41.     Citibank breached their duty of care to Plaintiff when Citibank negligently, and

          intentionally, issued a cashier's check dated January 31, 2020, number 170833132, to HSBC in

          the sum of $233,773.52, which was comprised of funds which was initially issued by AIG to

          both HSBC and Plaintiff as co-payees.

                 42.     The January 31, 2020 cashier's check was negligently, and intentionally, issued

          by Citibank to HSBC only, without any authorization by Plaintiff and without any legal basis.

                 43.      By Citibank's negligent and intentional issuance of the January 31, 2020

          cashier's check to EISBC only, Citibank caused HSBC to negotiate funds equally belonging to

          Plaintiff but without Plaintiff's authorization.

                 44.     As a direct result of Citibank's negligent and/or intentional acts and omissions,

          Plaintiff suffered compensatory damages in the sum of $233,773.52.

                 45.     But for Citibank's breach of their duty of care to Plaintiff, Plaintiff would not

          have suffered compensatory damages in the sum of $233,773.52.

                AS AND FOR THE FOURTH CAUSE OF ACTION AGAINST DEFENDANT
                     HSBC BANK USA, N.A. FOR COMMON LAW CONVERSION


                 46.     Plaintiff repeats and realleges each and every allegation made above, as if set

          forth at length herein.

                 47.     HSBC converted funds belonging to Plaintiff.

                 48.     At the time it received the January 31, 2020 Citibank cashier's check, HSBC

          knew that the check was comprised of funds which Plaintiff received from AIG.




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                  49.      At the time it received the January 31, 2020 Citibank cashier's check, HSBC

          knew that Plaintiff had a legal possessory interest in the funds.

                  50.      Notwithstanding HSBC's express knowledge as stated, HSBC nevertheless

         proceeded to negotiate and convert said funds.

                  51.      Upon negotiation of said cashier's check, HSBC         as credited for the full amount

          of the cashier's check.

                  52.      By receiving the full amount of the funds of the cashier's check, HSBC interfered

          with Plaintiffs right of possession and ownership in said funds.

                  53.      By receiving the full amount of the funds of the cashier's check, HSBC exercised

          dominion and control over the Plaintiffs funds in derogation of Plaintiffs ownership rights of

          the funds without any legal basis or justification.

                  54.      HSBC's conversion of Plaintiffs funds caused Plaintiff to suffer compensatory

          damages in he sum of $233,773.52 plus interest.

                  55.      FISBC's conversion of Plaintiffs funds caused Plaintiff to lose business

          opportunities and as such Plaintiff suffered additional economic losses in a sum to be determined

          at a trial of this action but at all times within the jurisdictional limits of this court.



                  WHEREFORE, Plaintiff demands judgment against the Defendants as follows:


                  A. On the first cause of action against Defendant Citibank, N.A., for common law

                        conversion in the sum of $107,918.67 plus statutory interest and costs, and for loss of

                        business opportunities; and

                  B. On the second cause of action against Defendant Citibank, N.A., for violations of

                        UCC §3-409, UCC §3-411 and §3-412 and for expenses (including attorney's fees)




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                    and loss of interest in a sum to be determined by this court and at all times within the

                    jurisdictional limits of this court; and

                C. On the third cause of action against Defendant Citibank, N.A., for negligence in the

                    sum of $233,773.52 plus statutory interest, costs and reasonable attorney's fees; and

                D. On the fourth cause of action against Defendant HSBC Bank USA, NA, for common

                    law conversion in the sum of $233,773.52 plus statutory interest, costs and reasonably

                    attorney's fees, and for loss of business opportunities; and

                E. Awarding plaintiff such other and further relief as the Court deems just and proper.


          Dated: Brooklyn, New York
                 June 23, 2020                  Yours, etc.,

                                                /s/ Samuel Katz
                                                LAW OFFICE OF SAMUEL KATZ, PLLC
                                                Samuel Katz, Esq.
                                                4533 16th Avenue
                                                Brooklyn, NY 11204
                                                Tel. (347) 396-3488
                                                Fax (347) 396-9622
                                                sk0,samkatzlaw.com
                                                Attorneys for Plaintiff




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                                                 VERIFICATION

         STATE OF NEW YORK
                                               SS'
         COUNTY OF KINGS

         JOSEPH SAFDIEH, having been duty sworn, hereby deposes and states as follows:

                I am a Plaintiff in the within Complaint. I have read the attached Complaint and know the

         contents thereof, The statements contained therein are true to my own knowledge, or upon

         information and belief. As to those statements that are based upon information and belief, I believe

         them to be true



                                                              JOSEPH SAM)

         Sworn o before me on this

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        /7
         Notaty Public


           NELSON R. CUNHA
        NOTARY PUBLIC OF NEW JERSEY
         My Commission Expires 8=21




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